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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

In Re: Defendant Intel Corporation’s
Subpoena to University of Maryland

c/o University of Maryland
Office of General Counsel
4716 Pontiac St., Suite 2117
College Park, MD 20742

 

XMTT, Inc.,
3 Kettle Pont Ct.
Potomac, MD 20854

Plaintiff,
V.
INTEL CORPORATION
2200 Mission College Blvd.,
Santa Clara, CA 95054

Defendant.

 

 

Misc. Case No.

ORAL HEARING REQUESTED

D. Del. Case No. 1:18-cv-01810-RGA

PLAINTIFF’S MOTION TO QUASH DEFENDANT’S SUBPOENA
TO THIRD-PARTY UNIVERSITY OF MARYLAND

Pursuant to Federal Rule of Civil Procedure 45(d)(3)(A), plaintiff XMTT, Inc. (“XMTT”)

respectfully requests an order quashing or modifying the subpoena (“Subpoena”) served on third-

party University of Maryland (the “University”) by defendant Intel Corporation (“Intel’’). Intel

improperly seeks a broad array of documents of XMTT’s founder, Professor Uzi Vishkin,

through a subpoena to his employer, the University—trather than just seeking them from

Professor Vishkin directly. Many of the documents sought are known to include information

that is plainly protected by the attorney-client privilege and work-product doctrine. The

University, however, does not wish to spend the resources necessary to separate the material
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protected by those doctrines from material that is properly subject to discovery. In the interests
of safeguarding his privileged and work product information, Professor Vishkin’s counsel is
ready and able to perform that task on his documents. Accordingly, as explained in more detail
in the memorandum of points and authorities below, XMTT respectfully requests that the Court
order the University to first provide any documents it locates in response to the subpoena to
XMTT, so that XMTT and Professor Vishkin can review them for privilege or work-product
protection, and then produce the remaining documents to Intel along with a privilege log of
anything withheld.

The parties met and conferred by telephone at least on November 7 and 14, 2019 but were
unable to reach resolution.

XMTT respectfully requests oral argument pursuant to Local Rule 7(f).
Dated: November 22, 2019 Respectfully submitted,
uck\s
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Counsel for Plaintiff XMTT, Inc.
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CERTIFICATE OF SERVICE
I hereby certify that on this 22nd day of November, 2019, a true and correct copy of the
foregoing document has been served via email and postage pre-paid, first class U.S. Mail on the

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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Plaintiff,
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INTEL CORPORATION
2200 Mission College Blvd.,
Santa Clara, CA 95054

Defendant.

 

 

Misc. Case No.

ORAL HEARING REQUESTED

D. Del. Case No. 1:18-cv-01810-RGA

PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO QUASH
DEFENDANT’S SUBPOENA TO THIRD-PARTY UNIVERSITY OF MARYLAND
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MEMORANDUM OF POINTS AND AUTHORITIES

Intel served a third-party subpoena that seeks an expansive set of documents from XMTT’s
founder, Professor Uzi Vishkin. Intel served that subpoena on Professor Vishkin’s employer, the
University of Maryland (“University”), rather just seeking those same materials from Professor
Vishkin himself. While neither the parties nor the University has reviewed these materials, many
documents within the broad scope of the subpoena are known to be plainly protected by the
attorney-client privilege and work-product doctrine. Federal Rule of Civil Procedure 45(d)(3)(A)
provides that, on “timely! motion, the court for the district where compliance is required? must

quash or modify a subpoena that: ... (iii) requires disclosure of privileged or other protected matter,

 

' The parties agreed that the deadline for filing a motion to quash would be 14 days after the
University announced that it completed its search. See Tucker Decl. Ex. 2 at 3. The University
completed its search on November 11, 2019, which is fewer than 14 days from the date of this
filing. See id. at 1. XMTT’s motion is timely under the parties’ agreement that any motion to
quash be filed within 14 days of the completion of the University’s search.

? Although the University is based in Maryland, the Subpoena calls for documents and testimony
to be produced in Washington, DC. See Tucker Decl. Ex. 1 at 3. Therefore, “the court for the
district where compliance is required” as that term is found in FRCP 45 is Washington, DC. See,
e.g., HT S.R.L. v. Velasco, 125 F. Supp. 3d 211, 222 (D.D.C. 2015) (vacated on other grounds)
(Although the respondent resided in Maryland, “the Subpoena states that compliance is required
at Petitioner’s counsel’s office [in the] District of Columbia []. Accordingly, a motion to compel
compliance with the Subpoena must be filed in the District of Columbia.”); Wultz v. Bank of China,
Ltd., 304 F.R.D. 38, 43 (D.D.C. 2014) (“However, because Mr. Shaya was served in the District
of Columbia and the subpoena commands his attendance here, this Court is the court where
compliance is required.”); U.S. v. Preston, No. 13-00265 (RC), 2015 WL 13708609, at *2 (D.D.C.
Aug. 24, 2015) (“Here, the subpoena was issued by this Court but commanded Mr. Owens, a
nonparty, to appear for a deposition in Fairfax County, Virginia, where the deposition then took
place. ... By the plain language of the rule, then, the appropriate court to review this motion ... is
the U.S. District Court for the Eastern District of Virginia.”). Moreover, Fed. R. Civ. P. 45(c) is
titled “Place of Compliance” and then discusses the locations where a “subpoena may command
[] production” (emphasis added); the Rule therefore clearly contemplates that the place where
production is “commanded” is “where compliance is required,” and the Subpoena to the University
commands production in Washington, DC. See Tucker Decl. Ex. 1 at 3.

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if no exception or waiver applies; or (iv) subjects a person to undue burden” (emphasis added).
Accordingly, Intel’s improper subpoena should be quashed.

Professor Vishkin’s employer (the University) has made it clear that it does not wish to
expend the resources necessary to review Professor Vishkin’s documents to segregate the portions
that are privileged or work product, on one hand, from the portions that are protected from
discovery, on the other. Therefore, as a practical solution, XMTT requests that the Court order the
University first to provide the subpoenaed documents to counsel for Professor Vishkin and XMTT,
so that counsel can review the documents for privilege and work-product protection. Any
documents not subject to privilege or work product protection then can promptly be produced to
Intel along with a privilege log for any materials properly withheld.

L FACTUAL BACKGROUND

Dr. Uzi Vishkin owns XMTT, Inc. and has been a professor at the University for decades.
Professor Vishkin pioneered and patented groundbreaking technology that Intel is infringing. See
generally XMTT, Inc. v. Intel Corp., Case No. 1:18-cv-01810-RGA, at Dkt. 1 (D. Del.). The Court
in the underlying litigation entered a Stipulated Order Regarding Electronic Discovery that
governs, among other things, the process by which electronically stored information (“ESI”) such
as emails is produced. See Ex. 7° (Dkt. 42 in the underlying litigation). The Order contemplates
that a party may identify custodian(s) whose ESI it would like searched, the parties propose and
confer regarding search terms, and then records of the custodian(s) are searched and produced.
Ex. 7 at 13-14. Pursuant to the Order, Intel identified Professor Vishkin as a custodian, the parties

conferred regarding search terms for Professor Vishkin's ESI, and XMTT is in the process of

 

3 Unless otherwise specified, all exhibits refer to those attached to the Tucker Declaration.

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reviewing and producing Professor Vishkin’s emails identified by agreed search terms. See Ex. 8
at 1, 4.

In parallel, Intel served a broad subpoena on the University (which is not a party to the
underlying litigation) seeking, among other things, all communications relating to the Patents-in-
Suit, without regard for whether such documents are properly discoverable. See Ex. 1 (Subpoena)
Requests 11-13. Not all of Professor Vishkin’s documents stored on the University’s servers are
properly discoverable. Dr. Vishkin has used his University-provided email address to send and
receive communications that are quintessentially privileged and protected by the work-product
doctrine. This includes communications with his current trial counsel (Irell & Manella LLP) and
other patent counsel, including Trellis Law; Rosenberg, Klein & Lee; and other firms and
individual attorneys that have represented him in the past. See Vishkin Decl. { 2.

Professor Vishkin has always expected that these privileged and work product materials
were communicated in confidence. See Vishkin Decl. 43. Indeed, over decades of use of his
University email address, no one informed him otherwise. See Vishkin Decl. at | 4. Accordingly,
when the materials were subpoenaed, his counsel reached out to the University to ensure that his
rights would be respected. See generally Ex. 4. In response, the University indicated that it did
not wish to spend the time or money reviewing the enormous set of documents Intel had
subpoenaed from his email account or otherwise. Therefore, XMTT proposed a reasonable and
practical compromise to resolve the situation.

Specifically, XMTT proposed that the University first provide XMTT with all of the
responsive documents that the University was able to locate, so that XMTT’s counsel could review
those documents solely for privilege and work-product protection. Then XMTT would produce

all remaining documents to Intel along with a privilege log for all documents that were withheld.
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See Ex. 3 at 2. Intel refused to proceed in this sensible manner, however, instead insisting that the
University produce all collected documents—including those known to be protected by attorney-
client privilege and work-product protection—simultaneously to both parties. Intel posited that
XMTT could then claw back any protected material pursuant to Fed. R. Civ. P. 45(e)(2)(B). See
Ex. 3 at 2. It makes no sense for Intel to begin reviewing documents already known full well to
include plainly protected material, such as communications with Professor Vishkin’s current
litigation counsel, only then to be required to return or destroy that material while the parties
litigate privilege issues on a document-by-document basis.* KMTT explained those points to Intel,
to no avail. See, e.g., Ex. 3 at 1-2.

The practical effect of Intel's position would be an end-run around both (i) the Federal

Rules of Civil Procedure and (ii) the agreed discovery procedures in the Delaware litigation, giving

 

4 Intel's proposal runs counter to fundamental principles of ethical legal practice, in which the
protection of privileged material is paramount and the potential for review of privileged material
by an adversary is highly disfavored. For example, in this District, attorneys that receive
inadvertently disclosed privileged material and are informed of the privileged nature of the
material are required to “seek guidance from the sending lawyer” and return the material, unread,
if asked—to do otherwise “would be a dishonest act, in violation of Rule 8.4(c).” D.C. Bar Legal
Ethics Committee Opinion 256 (June 1995). Similarly, a lawyer who receives documents from a
third party “proceeds at his own risk if indicia of a privileged document do exist and there is not
a reasonable basis to conclude that the privilege has been waived,” and is encouraged to “refrain
from reviewing the materials until a definitive resolution of the proper disposition of the
materials is obtained from a tribunal.” D.C. Bar Legal Ethics Committee Opinion 318 (December
2002). Here, XMTT has expressly informed Intel that the documents it seeks from the
University of Maryland contain plainly protected material, that neither XMTT nor Professor
Vishkin have waived any privilege or protection over the material, and that the University of
Maryland is not authorized to disclose the protected material to Intel. It would make no sense for
Intel to begin reviewing materials known to contain privileged material that XMTT has had no
opportunity to identify on a privilege log to facilitate resolution of the privilege claim (and any
objection thereto by Intel) by a court. To do so simply creates a wholly unnecessary risk of
disclosure of Professor Vishkin’s privileged communications to a litigation adversary—a bell
that once rung, cannot be undone, and in many jurisdictions can lead to disqualification of
counsel should the privilege claim be upheld. See, e.g., Rico v. Mitsubishi Motors Corp., 42 Cal.
4th 807, 817-20 (2007); see also Gotham City Online, LLC v. Art.com, Inc., C 14-00991 JSW,
2014 WL 1025120 at *4 (N.D. Cal. Mar. 13, 2014).

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Intel improper access to materials known to be protected by both the attorney-client privilege and
work product doctrine, including documents of the most sensitive sort such as communications
with trial counsel in the very case Professor Vishkin’s company is actively litigating against Intel.
Indeed, some of these materials are so undoubtedly protected from discovery that, per the parties’
agreement in the Delaware litigation, if Intel requested them from XMTT in party discovery,
XMTT would not even be required to provide a privilege log. See Ex. 7 at 5. Intel is not entitled
to use Rule 45 to obtain privileged documents and work product from a third party that is not
sufficiently motivated to protect those materials on behalf of its employee. The Court should order
a sensible compromise that allows Professor Vishkin’s rights to be respected while allowing Intel
to receive any properly discoverable materials.

Il. ARGUMENT

A. Professor Vishkin’s Communications Are Protected by the Attorney-Client
Privilege.

The communications at issue in this motion are those that, if sent from a commercial email
provider such as Google’s Gmail, would indisputably be protected by attorney-client privilege.
Specifically, this motion deals with those emails in which Professor Vishkin obtained legal advice
and services related to the asserted patents from various patent prosecution and litigation counsel.
See Vishkin Decl. §§2-3. These communications would typically be a bread-and-butter
application of privilege law. See In re Lindsey, 158 F.3d 1263, 1267 (D.C. Cir. 1998) (“The
attorney-client privilege protects confidential communications made between clients and their
attorneys when the communications are for the purpose of securing legal advice or services.”).

Notwithstanding the purpose and content of these emails, Intel—which has not yet seen
any of the materials at issue and did not inquire about whether Professor Vishkin expected them

to be protected against disclosure—argues that none of Professor Vishkin’s emails sent through

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the University’s servers are privileged. Intel erroneously contends: (1) Professor Vishkin’s emails
sent using his University email address were not sufficiently confidential to warrant application of
the privilege in the first instance; and (2) any privilege was waived by virtue of the University’s
search for documents in response to the Subpoena. Intel’s arguments fail both factually and as a
matter of law, as explained below.

1. Professor Vishkin’s Use of the University’s Email Servers Does
Not Preclude Application of the Attorney-Client Privilege.

Communications between a client and his attorneys do not lose their privileged status
simply because they occur over email. Rather, privilege attaches so long as the client had “a
subjective expectation of confidentiality that is found to be objectively reasonable.” Convertino
v. U.S. Dept. of Justice, 674 F. Supp. 2d. 97, 110 (D.D.C. 2009). Professor Vishkin expected that
his email communications with attorneys through his University email address were confidential.
Vishkin Decl. at 3-4. As discussed further below, at all times Professor Vishkin's expectation
that his communications were confidential was objectively reasonable. Therefore his
communications with his attorneys have been, and remain, protected by the attorney-client
privilege.

To determine the reasonableness of expectations of confidentiality, this District follows the
factors set forth in In re Asia Global Crossing, Ltd., 322 B.R. 247, 257 (S.D.N.Y. 2005): “(1) does
the corporation maintain a policy banning personal or other objectionable use, (2) does the
company monitor the use of the employee’s computer or e-mail, (3) do third parties have a right
of access to the computer or e-mails, and (4) did the corporation notify the employee, or was the
employee aware, of the use and monitoring policies?” Convertino, 674 F. Supp. 2d at 110 (quoting
Asia Global). In the present situation, all four factors weigh in favor of finding a reasonable

expectation of privacy that preserves the privilege:

- 6%
1.

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Professor Vishkin was not aware of any University policy banning personal use. Vishkin
Decl. 74. Indeed, the Faculty Handbook is silent on the issue (see generally

https://faculty.umd.edu/policies/) and XMTT is not aware of any evidence to the contrary.

 

Very recently, the University introduced a new IT standard for email use. See Vishkin
Decl. Ex. 9 at 1 (“The university has adopted a new IT standard that establishes
requirements related to using email to conduct university business.” (emphasis added));
see also Ex. 5 at 1 (University’s website showing a posting date of October 22, 2019). But
even if this “new” policy could be construed as a ban on personal use, the University did
not previously have a public policy banning personal use nor could the policy fairly be
made retroactive.

The University does not monitor Professor Vishkin’s emails. Moreover, Professor Vishkin
is not aware of any prior monitoring of his emails (Vishkin Decl. J 4), and Intel has never
provided XMTT with any evidence to the contrary.

Third parties do not have any right of access to Professor Vishkin’s computer or e-mails.
Although the University is a public institution and certain information is publicly available,
the University classifies “Privileged information (attorney work product, attorney-client
privilege, etc.)” as Category 2 within its Data Classification Standards (see Ex. 6 at 3), and
such “information is to be kept confidential as a matter of institutional policy or practices”
(see Ex. 6 at 1). Indeed, Maryland state law requires the University to deny public
inspection of “privileged or confidential” records (M.D. Code, General Provisions, § 4-
301(a)(1)), and as discussed above, Professor Vishkin’s emails are privileged and

confidential; accordingly, third parties have no right of access to Professor Vishkin’s
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emails notwithstanding that the University is otherwise subject to Maryland’s public
records laws.

4. Until the University sent a University-wide email this October, Professor Vishkin was not
aware of anyone at the University ever telling him that it might access his confidential
emails. See Vishkin Decl. 4; see also Vishkin Decl. Ex. 10 at 1-2 (“Not once do I recall
being informed that my email account ... could not be used for confidential
communications.”). Even with respect to this particular Subpoena, the University did not
provide advance notice to Professor Vishkin that it would be accessing his confidential
emails before it started searching. See Vishkin Decl. { 6; Vishkin Decl. Ex. 10 at 3 (“You
did not inform me about any of what you were doing.”).

All four of the Asia Global factors therefore weigh in favor of finding that Professor Vishkin’s
subjective expectation of confidentiality in using his University email address was objectively
reasonable. Even under less favorable circumstances, this District finds such beliefs objectively
reasonable and upholds attorney-client privilege. See Convertino, 674 F. Supp. 2d. 110 (‘The DOJ
maintains a policy that does not ban personal use of the company e-mail. Although the DOJ does
have access to personal e-mails sent through this account, Mr. Tukel was unaware that they would
be regularly accessing and saving e-mails sent from his account. Because his expectations were
reasonable, Mr. Tukel’s private e-mails will remain protected by the attorney-client privilege.’’)
(citations omitted). The Court should therefore find that Professor Vishkin’s communications with
his attorneys were made with an objectively reasonable expectation of confidentiality. They are

privileged.
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2. The University’s Collection Efforts in Response to the Subpoena
Do Not Change the Privilege Analysis.

Intel also argues that, regardless of whether Professor Vishkin’s communications were
privileged in the first instance, any privilege was waived by virtue of the University’s search for
and collection of documents in response to the Subpoena because the University has allegedly
reviewed the documents as part of its search process. To begin with, the factual premise of Intel’s
argument is simply wrong. The University expressly confirmed that it had only been performing
an automated, keyword-based search for documents and that “no review or disclosure of emails or
other records shall take place until the University receives direction from the court.” See Ex. 2
at 1-2. Therefore, the University’s search for and collection of documents in response to the
Subpoena could not have breached the confidentiality required to preserve privilege, as the
documents have still not been reviewed by any human third parties and are therefore in effectively
the same state as they were prior to the Subpoena.

Even if the University had collaterally reviewed the communications at issue while
complying with the Subpoena, involuntary disclosure in response to a subpoena does not waive
privilege. See In re Subpoenas Duces Tecum, 738 F.2d 1367, 1373 (D.C. Cir. 1984). (“The
distinction between voluntary disclosure and disclosure by subpoena is that the latter, being
involuntary, lacks the self-interest which motivates the former. As such, there may be less reason
to find waiver in circumstances of involuntary disclosure.”); see also Spears v. First Am.
eAppraiselT, LLC, 75 F. Supp. 3d 208, 212 (D.D.C. 2014) (“Furthermore, documents produced
pursuant to a subpoena are not voluntarily disclosed. ... There is less reason to find waiver when
documents have been provided pursuant to a subpoena....”); In re Vitamin Antitrust Litig., 2002

WL 35021999, at *28 (D.D.C. Jan. 23, 2002).
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“[W]hen the disclosure of privileged material is involuntary”—as it is in the present
situation by virtue of Intel’s Subpoena—”we will find the privilege preserved if the privilege
holder has made efforts ‘reasonably designed’ to protect and preserve the privilege.” See S.E.C.
v. Lavin, 111 F.3d 921, 930 (D.C. Cir. 1997) (quoting another source, alterations in original). In
Lavin, the Court found no waiver where the party asserting privilege: (1) “immediately asserted
the privilege”; (2) “secured an arrangement [to] provide [the party asserting privilege] with notice
and an opportunity to object before” production; (3) “intervened in [the relevant] case to preclude
the [privileged] production.” Jd. at 931. These steps were sufficient to preserve privilege even
though (and unlike here) the third party in possession of the documents had reviewed the
documents. Jd. at 932-33; see also Cobell v. Norton, 213 F.R.D. 69, 76-77 (D.D.C. 2003) (“This
Court concludes that when defendants learned about the disclosures by the [third-party] Monitor,
they commenced efforts that were reasonably designed to preserve the attorney-client privilege.
... Accordingly, the Court finds that any disclosures [] made by parties other than defendants [] do
not constitute a waiver of the attorney-client privilege....”).

XMTT has taken every one of the steps found sufficient in Lavin to preserve privilege, and
then some. XMITT promptly asserted the privilege, has been conferring with both Intel and the
University to try to reach a reasonable resolution of the issue, and has secured the University’s
agreement to not produce the documents until the Court resolves the dispute. See, e.g., Ex. 4 at 8.
Both XMTT’s counsel and Professor Vishkin have discussed these matters at length with the
University and thought they had arrived at a sensible, practical procedure that would avoid motion
practice. But Intel refused to agree to that reasonable solution, instead insisting that all of Professor
Vishkin’s materials—which are known full well to include a large number of privileged and work

product documents—be shipped directly to Intel, his litigation adversary. Faced with Intel’s

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intransigence, XMTT secured the University’s agreement to not review or produce any documents
until the issue was resolved by the Court. See Ex. 2 at 1. And now, XMTT is moving the Court
seeking an order that will put the issue to rest. These are exactly the types of steps reasonably
designed to protect and preserve the privilege envisioned by Lavin and Cobell, and, as such, the
Court should find that there has been no waiver of privilege as a result of the University’s efforts
to search for and collect documents in response to the Subpoena.

Ultimately, the “attorney-client privilege is highly valued. Accordingly, courts should be
cautious about finding” waivers. In re Keeper of Records, 348 F.3d 16, 23 (1st Cir. 2003)
(emphasis added). Adopting Intel’s position could substantially expand waiver law in this District,
turning Professor Vishkin’s longstanding, reasonable expectations on their head. Intel’s position
should accordingly be rejected, in favor of the far more appropriate, practical compromise XMTT
has proposed.

B. Professor Vishkin's Documents Are Also Protected By The Work-Product
Doctrine.

Many of Professor Vishkin’s documents are also protected under the work-product doctrine
separately and in addition to their protected status under the attorney-client privilege. This Court
should therefore modify the Subpoena in accordance with KMTT’s compromise proposal
regardless of how it rules on the issue of attorney-client privilege, because these protections are
distinct and additive. See In re Kellogg Brown & Root, Inc., 796 F.3d 137, 145 (D.C. Cir. 2015)
(“It is hornbook law that [w]aiver of the [attorney-client] privilege should always be analyzed
distinctly from waiver of work product.”) (alterations in original, internal quotations omitted).

As background, “a party may not discover documents and tangible things that are prepared
in anticipation of litigation or for trial by or for another party or its representative (including the

other party's attorney, consultant, surety, indemnitor, insurer, or agent).” Fed. R. Civ. P.

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26(b)(3)(A). “The testing question for the work-product privilege, we have held, is whether, in
light of the nature of the document and the factual situation in the particular case, the document
can fairly be said to have been prepared or obtained because of the prospect of litigation.” In re
Sealed Case, 146 F.3d 881, 884 (D.C. Cir. 1998) (internal quotation marks omitted). “As the
Supreme Court has made clear, the doctrine should be interpreted broadly and held largely
inviolate.” Judicial Watch, Inc. v. Dept. of Justice, 432 F.3d 366, 369 (D.C. Cir. 2005) (emphasis
added).

Many documents contained in Professor Vishkin’s email account are unquestionably
protected by the work-product doctrine. For example, Professor Vishkin’s emails include XMTT’s
trial counsel’s opinions on strategy in the pending litigation against Intel. There can be no
reasonable dispute that such analyses contain opinions of counsel that were created in anticipation
of litigation and, as such, should be afforded work-product protection. To date, Intel has only
contended that Professor Vishkin’s e-mails are not entitled to the attorney-client privilege
protection (see Ex. 3 at 2) and has not argued that, or identified any reason why, the work-product
protection would not apply.

Professor Vishkin had an objectively reasonable expectation of confidentiality. There are
no facts supporting waiver even of attorney-client privilege, and it “is well-settled that it is more
difficult to waive the attorney work-product privilege than it is to waive the attorney-client
privilege.” Feld v. Fireman’s Fund Ins. Co., 991 F. Supp. 2d 242, 252 (D.D.C. 2013) (collecting
cases). “Because the work-product doctrine is designed to promote the adversary system by
safeguarding the fruits of an attorney's trial preparation from the discovery attempts of the
opponent and not, as the attorney-client privilege is designed, to protect a confidential relationship,

not all disclosures to third parties waive the protection afforded by the doctrine. ... Three main

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factors determine whether work-product protection has been waived: (1) the party claiming the
privilege seeks to use it in a way that is not consistent with the purpose of the privilege; (2) the
party had no reasonable basis for believing that the disclosed materials would be kept confidential
[]; and (3) waiver of the privilege in these circumstances would not trench on any policy elements
now inherent in this privilege.” U.S. v. Williams Cos., Inc., 562 F.3d 387, 394 (D.C. Cir. 2009)
(internal quotation marks omitted).

None of the Williams factors apply in the present situation: (1) XMTT does not seek to
partially disclose any of the work-product material in an unfair sword-shield strategy; (2) Professor
Vishkin had an objectively reasonable basis that the documents would be kept confidential, as
discussed above; and (3) finding waiver and permitting opposing counsel to obtain XMTT’s
counsel’s work product would undermine the flow of information necessary to provide the best
legal advice and service to XMTT. Ultimately, “only disclosures which are ‘inconsistent with the
adversary system’ waive the protection of the work-product rule,” and Professor Vishkin’s use of
a neutral third party’s email server is not at all inconsistent with the adversarial system, so the
Court should not find any waiver. See Chubb Integrated Sys. Ltd. v. Nat’l Bank of Washington,
103 F.R.D. 52, 63 (D.D.C. 1984).

In short, Intel’s broad subpoena must be limited at minimum to allow XMTT to review the
materials sought for work-product, which is protected under a broader doctrine that applies
regardless of Intel’s arguments about attorney-client privilege.

C. The Subpoena Improperly Circumvents The ESI Order And Subjects XMTT
To Undue Burden.

The Subpoena also improperly attempts to circumvent the ESI Order entered by the Court
in the underlying litigation and seeks to subject XMTT to undue burden, particularly if handled in

the manner Intel demands. Specifically, Intel proposes that the University produce all documents

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to both parties simultaneously, which would force XMTT’s counsel to review a large volume of
documents so that XMTT could claw back the protected documents under Federal Rule of Civil
Procedure 45(e)(2)(B), after Intel has already had a chance to review the protected contents of the
documents. See Ex. 3 at 2 (Intel’s counsel proposing that XMTT follow the procedure of FRCP
45(e)(2)(B)). Such a procedure would needlessly expose protected materials of the most sensitive
sort, thwart the logical procedure for production set forth in the ESI Order, and subject XMTT to
undue burden. As such, this Court should quash or modify the Subpoena under FRCP
45(d)(3)(A)(v).

The Court handling the underlying litigation already entered an ESI Order that sets forth a
typical and reasonable process by which the parties can identify custodians and search terms,
review hits for privilege and work-product protection, and produce non-privileged documents. See
Ex. 7 at §§ 4, 6. Intel disregarded this sensible approach and instead provided the University with
a secret set of search terms that XMTT still does not know (see Ex. 2 at 2), and now Intel insists
on receiving all of the results at the same time as XMTT despite Intel’s knowledge that XMTT is
asserting privilege and work-product protection over many of the results. This procedure certainly
does not comport with the spirit or purpose of the ESI Order, nor does this procedure comply with
the terms of the ESI Order which requires that the parties “timely meet and confer in good faith to
determine whether the parties can agree on all search terms to be used for each Non-Custodial
Data Source,” which Intel did not do. See Ex. 7 at 16. Moreover, this procedure would subject
XMTT to undue burden by forcing XMTT’s counsel to race to review potentially tens of thousands

of documents for privilege and work-product protection in order to claw those documents back

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before Intel can further review them. There is simply no reason for XMTT to be subjected to such
undue burden when the ESI Order already addresses this situation.°

In short, it would make no sense for XMTT to be subjected to the undue burden of racing
to review documents as quickly as possible to claw back documents that should not be produced
to Intel in the first place. Thus, at a minimum, the subpoena should be modified to order the
University to first produce the documents to XMTT so that XMTT may review the documents for
privilege and work-product protection, and then XMTT will produce to Intel the remaining
documents along with a privilege log for anything withheld, in accordance with the ESI Order.

Hil. CONCLUSION

Intel’s overreaching subpoena followed by its refusal to compromise in any reasonable
manner should not be permitted to effect an indiscriminate waiver of the attorney-client privilege
or work-product protection in sensitive documents that Professor Vishkin has always reasonably
believed were confidential. Nor should Intel be permitted, through a third-party subpoena, to
circumvent the ESI Order in the underlying litigation to which it is a party. There is a far more
sensible solution here than requiring the University to release Professor Vishkin’s protected
communications, in full, to his litigation adversary. XMITT respectfully requests that the Court
modify the Subpoena to enforce the practical procedure proposed by XMTT herein and

contemplated by the ESI Order: namely, that XMTT first review the documents for privilege and

 

> The ESI Order plainly applies to Professor Vishkin’s emails stored on the University’s servers.
The Order governs production from “Non-Custodial Data Sources,” which it defines as “a
system or container that stores ESI, but over which an individual custodian does not organize,
manage, or maintain the ESI in the system or container, such as an enterprise system or
database.” See Ex. 7 at 2. Thus, it does not matter that these emails reside on the University’s
servers which Professor Vishkin does not personally organize, manage, or maintain.

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work-product protection, and then provide the remainder to Intel along with a privilege log of

anything withheld.

Dated: November 22, 2019

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CERTIFICATE OF SERVICE
I hereby certify that on this 22nd day of November, 2019, a true and correct copy of the
foregoing document has been served via email and postage pre-paid, first class U.S. Mail on the

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